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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,               CR NO. 17-00101 (01) LEK

                    Plaintiff,

       vs.

  ANTHONY T. WILLIAMS,

                    Defendant.


           ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION

              Pro se Defendant Anthony T. Williams (“Defendant”)1

 filed the following motions: Motion for Order of Contempt

 Against the Illinois Anti-Predatory Lending Database (“IAPLD

 Contempt Motion”), on October 4, 2018; Motion for Order of

 Contempt Against the Orange County (CA) District Attorney’s

 Office (“OCDAO Contempt Motion”), on October 24, 2018; Motion

 for Order of Contempt Against the Broward County (FL) Sheriff’s

 Office (“BCSO Contempt Motion” and collectively “Contempt

 Motions”), on October 26, 2018; and “Defendant Anthony

 Williams’s Motion to Sever His Trial from the Trial of

 Co-Defendants and for Leave to Re-new” (“Motion to Sever”), on

 October 30, 2018.     [Dkt. nos. 349, 357, 361, 365.]        At hearings

 held on November 26, 2018, this Court orally denied the Contempt



       1   Lars Isaacson, Esq., is Defendant’s standby counsel.
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 Motions and the Motion to Sever (“11/26/18 Rulings”).            [Minutes,

 filed 11/26/18 (dkt. no. 392).]

             Before the Court is Defendant’s motion for

 reconsideration of the 11/26/18 Rulings (“Motion for

 Reconsideration”), filed on December 10, 2018.          [Dkt. no. 395.]

 Defendant filed a supplement to the Motion for Reconsideration

 (“Supplement”) on January 7, 2019, and Plaintiff the United

 States of America (“the Government”) filed its memorandum in

 opposition on January 10, 2019.        [Dkt. nos. 407, 408.]      The

 Court has considered the Motion for Reconsideration as a

 non-hearing matter pursuant to Rule LR7.2(e) of the Local Rules

 of Practice of the United States District Court for the District

 of Hawai`i (“Local Rules”).       Defendant’s Motion for

 Reconsideration is hereby denied for the reasons set forth

 below.

                                 BACKGROUND

             The parties and this Court are familiar with the

 factual and procedural background of this case, and only the

 background relevant to the Motion for Reconsideration will be

 repeated here.

             On February 22, 2018, the Clerk’s Office issued

 several subpoenas for documents, information or objects to the

 custodian of records for: the Illinois Anti-Predatory Lending

 Database (“IAPLD”); the Orange County, California District

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 Attorney’s Office (“OCDAO”); and the Broward County, Florida

 Sheriff’s Office (“BCSO”) on behalf of Defendant.           [IAPLD

 Contempt Motion, Decl. of Counsel, Exh. A (“IAPLD Subpoena”);

 OCDAO Contempt Motion, Decl. of Counsel, Exh. A (“OCDAO

 Subpoena”); BCSO Contempt Motion, Decl. of Counsel, Exh. A

 (“BCSO Subpoena”).]      Defendant made substantially the same

 requests in each subpoena, asking for a broad range of

 documents, including: all documents and communications made to

 or relating to Common Law Office of America (“CLOA”), Mortgage

 Enterprise Investments (“MEI”), and Defendant; and any secret

 recordings made regarding Defendant.         The OCDAO Subpoena and

 BCSO Subpoena requested documentation of policies and procedures

 for the respective entities in effect on or around February 15,

 2017.    The OCDAO Subpoena also requested the number of approved

 mortgages filed by MEI in Orange County.         [IAPLD Subpoena,

 Exh. A; OCDAO Subpoena, Exh. A; BCSO Subpoena, Exh. A.]

 I.      IAPLD Subpoena

              On October 22, 2018, following Defendant’s IAPLD

 Contempt Motion, the magistrate judge issued his Certification

 of Facts Regarding the Illinois Anti-Predatory Lending

 Database’s Failure to Comply with Subpoena.          [Dkt. no. 356.]

 The magistrate judge found that: on March 6, 2018, a subpoena

 was served on an administrative assistant with the Illinois

 Department of Financial and Professional Regulation; the

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 custodian of records for the IAPLD was required to produce

 documents as requested by March 15, 2018; and the IAPLD failed

 to either comply with the subpoena or contact Defendant to

 object to the subpoena.      [Id. at ¶¶ 2-4.]      The IAPLD was ordered

 to show cause, in writing and at a hearing before this Court,

 why it should not be held in contempt for failing to comply with

 the subpoena.     [Id. at pg. 3.]

             On October 29, 2018, the Court received a document in

 response to the IAPLD Subpoena and forwarded it to Mr. Isaacson.

 [Dkt. no. 364.]

 II.   OCDAO Subpoena

             On March 13, 2018, the United States Marshals Service

 (“Marshals Service”) attempted to execute service of the OCDAO

 Subpoena on OCDAO.     [OCDAO Contempt Motion, Decl. of Counsel

 (“OCDAO Contempt Decl.”), Exh. C (email dated 9/12/18 to

 Mr. Isaacson from Channing Iwamura of the Marshals Service

 regarding service of subpoenas).]         Although OCDAO did not accept

 service of the OCDA Subpoena, it responded by letter, dated

 March 14, 2018, objecting to the subpoena on the following

 grounds: (1) compliance with the requested date of March 15

 would be “unreasonable or oppressive”; [OCDAO Contempt Decl.,

 Exh. D at 1;] (2) much of the requested information is protected

 by the attorney work product doctrine under Fed. R. Civ.

 P. 26(b)(3); (3) all of the information sought is protected by

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 the federal official information privilege; (4) some of the

 information requested is protected by various California state

 laws.       [Id. at 1-2.]

 III. BCSO Subpoena

                The BCSO Subpoena was served on BCSO on March 8, 2018.

 [BCSO Contempt Motion, Decl. of Counsel (“BCSO Contempt Decl.”),

 Exh. D (executed Process Receipt and Return).]          On September 25,

 2018, the Court forwarded to Defendant’s standby counsel the

 responsive documents received from BCSO.         [BCSO Contempt Decl.,

 Exh. E.]      These included the BCSO Criminal Investigation

 Division’s Standard Operating Procedures and a Communication

 Management Report.      [Id. at 12-18.2]

 IV.   Motion to Sever

                In the Motion to Sever, Defendant argued that

 proceeding with a joint trial would be unfairly prejudicial to

 him as Defendants Anabel Cabebe (“Cabebe”) and Barbara Williams

 may refuse to testify in a joint trial but would be likely to

 testify in his favor in a severed trial.         The Government opposed

 the Motion to Sever, arguing that a joint trial was proper

 because each Defendant was charged regarding the “same series of


         2
        Exhibit E consists of multiple documents that are not
 consecutively paginated. The citation refers to the page
 numbers assigned by the district court’s electronic case filing
 system to docket number 361-2, which contains Defendant’s
 Exhibits A-F.


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 acts or transactions” and all three Defendants were “part of the

 same common plan, scheme, and conspiracy.”          [Response to Motion

 to Sever, filed 11/15/18 (dkt. no. 382), at 4-5.]           Cabebe filed

 a statement of no position.       [Filed 11/26/18 (dkt. no. 391).]

 V.    11/26/18 Rulings

             On November 26, 2018, this Court held two hearings,

 the first to consider the Motion to Sever and the second to

 consider the Contempt Motions (“11/26/18 Hearings”).3             Defendant

 was not present at the 11/26/18 Hearings.          Mr. Isaacson was not

 present and had previously filed a notice stating he would be

 out of the country.      See Notice of Non-Availability, filed

 11/6/18 (dkt. no. 376).      The Government requested that the

 hearings be rescheduled to dates when Mr. Isaacson would be

 available, but the Court denied the request because Mr. Isaacson

 informed the Court that Defendant objected to a continuance

 based on Mr. Isaacson’s absence.          [Letter to the Court from

 Mr. Isaacson, filed 11/7/18 (dkt. no. 378); Response to notice,

 filed 11/8/18 (dkt. no. 379); Entering Order, filed 11/13/18

 (dkt. no. 381) (denying the Government’s request).]              At the

 11/26/18 Hearings, the Court noted Defendant’s knowledge of the

 hearing dates and times and Defendant’s knowledge of




       3At the hearing on the Motion to Sever, Barbara Williams’s
 counsel stated Ms. Williams had no position.
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 Mr. Isaacson’s unavailability and found that Defendant’s absence

 was purposeful and intentional.

             The Motion to Sever was denied because Defendant

 failed to show that he would be prejudiced in any way by

 proceeding with a joint trial.        This Court concluded that a

 joint trial is proper since Defendants are each charged in a

 single conspiracy.     The Contempt Motions were denied because

 Defendant failed to show that: 1) to the extent any of the

 subpoenaed entities failed to respond any portion of a subpoena,

 the failure was “without adequate excuse”; see Fed. R. Crim.

 P. 17.(g); and 2) the responses which were received from the

 subpoenaed entities were inadequate.

             Defendant now seeks reconsideration of the 11/26/18

 Rulings.

                                  STANDARD

             There is no rule in the Federal Rules of Criminal

 Procedure expressly authorizing the filing of motions for

 reconsideration.     However, many courts – including the Ninth

 Circuit – have recognized that motions for reconsideration may

 be filed in criminal cases.       See, e.g., United States v. Hee,

 Cr. No. 14-00826 SOM, 2015 WL 6510345, at *11 (D. Hawai`i

 Oct. 27, 2015) (listing cases).        “[M]otions for reconsideration

 in criminal cases are governed by the rules that govern

 equivalent motions in civil proceedings.”          Id. (alteration in

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 Hee) (citations and quotation marks omitted); see also United

 States v. Naeem J. Williams, CR. No. 06–00079 DAE, 2007 WL

 1294519, at *3 (D. Hawai`i Apr. 30, 2007) (“Local Rule 60.1 also

 applies to motions for reconsideration in criminal cases.”

 (citations omitted)).

             Local Rule 60.1 states, in relevant part: “Motions for

 reconsideration of interlocutory orders may be brought only upon

 the following grounds: (a) Discovery of new material facts not

 previously available; (b) Intervening change in law; [or]

 (c) Manifest error of law or fact.”        This Court has previously

 stated a motion for reconsideration:

             “must accomplish two goals. First, a motion for
             reconsideration must demonstrate reasons why the
             court should reconsider its prior decision.
             Second, a motion for reconsideration must set
             forth facts or law of a strongly convincing
             nature to induce the court to reverse its prior
             decision.” See Davis v. Abercrombie, Civil
             No. 11-00144 LEK-BMK, 2014 WL 2468348, at *2 (D.
             Hawai`i June 2, 2014) (citation and internal
             quotation marks omitted). . . . “Mere
             disagreement with a previous order is an
             insufficient basis for reconsideration.” Davis,
             2014 WL 2468348, at *3 n.4 (citations and
             internal quotation marks omitted).

 Riley v. Nat’l Ass’n of Marine Surveyors, Inc., Civil No. 14-

 00135 LEK-RLP, 2014 WL 4794003, at *1 (D. Hawai`i Sept. 25,

 2014).

 	




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                                 DISCUSSION

              Defendant raises two points of error: 1) the Court

 erred in proceeding with the 11/26/18 Hearings without him

 because he was involuntarily prevented from being present at the

 hearings by the Marshals Service; and 2) the Motion to Sever was

 improperly denied due to the Court’s failure to consider his

 arguments.    [Motion for Reconsideration, Decl. of Counsel,

 Exh. A (2-7-18 – Decl. of Anthony Williams (“Def.’s Decl.”));

 Suppl., Decl. of Counsel, Exh. A (“Def.’s Suppl. Statement”).]

 I.    Defendant’s Absence

              Defendant argues in his Motion for Reconsideration

 that this Court erred in finding his absence from the 11/26/18

 Hearings voluntary or, alternatively, that his forced absence

 from the 11/26/18 Hearings resulted in manifest injustice.             He

 does not allege any intervening change in the controlling law or

 newly available evidence.

              In support of his first argument, Defendant has

 provided his version of the events that occurred the morning of

 November 26, 2018: (1) Defendant was notified by a Federal

 Detention Center – Honolulu (“FDC”) unit officer that he had a

 court hearing at 8:30 a.m., to which he responded that his

 hearing was scheduled at 2:30 p.m.; (2) he called and confirmed

 the time of his hearing with the Office of the Federal Public



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 Defender (“Public Defender’s Office”);4 (3) he called the Public

 Defender’s Office again, around 11:00 a.m., and was told by a

 woman that the Marshals Service would pick him up to be

 transported to the courthouse; (4) Defendant asked the Public

 Defender’s Office to notify the Court of the situation and that

 he had not refused to be transported; (5) the woman in the

 Public Defender’s Office told Defendant she notified the Court

 about his calls; and (6) the Marshals Service lied in notifying

 the Court that Defendant had refused to be transported to the

 courthouse.     He further alleges that a similar situation

 occurred the week prior, where the Marshals Service arrived in

 the morning but returned later to transport him to the

 courthouse between 11:00 a.m. and noon.          [Def.’s Decl. at

 ¶¶ 1-8.]

             In support of its memorandum in opposition, the

 Government has provided the Declaration of Sam Gonzalez

 (“Gonzalez Declaration”) and the Declaration of Thomas Decker

 (“Decker Declaration”).5




       4The Public Defender’s Office does not represent Defendant
 or any other party in this case.

       5On the morning of November 26, 2018, Sam Gonzalez was the
 FDC housing unit officer who was responsible for collecting
 inmates for transportation to the courthouse. [Gonzalez Decl.
 at ¶¶ 3-4.] Thomas Decker is the Acting Supervisory Deputy U.S.
 Marshal for the District of Hawai`i General Operations Section.
 [Decker Decl. at ¶ 1.]
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             According to Officer Gonzalez, on November 26, 2018

 around 7:00 a.m., he notified Defendant that Defendant was to be

 moved to the FDC Receiving and Discharge area in order to be

 transported by the Marshals Service to the courthouse.

 Defendant made a gesture, acknowledging that he heard Officer

 Gonzalez.    [Gonzalez Decl. at ¶ 4.]       Defendant stated that he

 would not go downstairs because “‘[t]hey are going to have me

 wait there for several hours,’” at which point Officer Gonzalez

 confirmed with Defendant that he was “‘refusing to go

 downstairs.’”     [Gonzalez Decl. at ¶¶ 6-7.]

             The Government has also provided evidence of the

 Marshals Service’s standard procedures for transporting inmates

 from FDC to the courthouse.        Typically, inmates who have court

 proceedings are moved as a group to the Receiving and Discharge

 area to be picked up by the Marshals Service.           Two Deputy U.S.

 Marshals will pick up the group prior to the first proceeding

 scheduled for any member of the group.         Inmates are held in a

 cellblock at the courthouse, and each inmate is escorted

 individually into the courtroom for his respective proceeding.

 The whole group is transported back to FDC after all proceedings

 have concluded.     The Marshals Service only deviates from this

 procedure in special cases.        For example, if there are too many

 inmates who must be transported in a single day for one van, a

 second trip will be made.       The Marshals Service will not

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 transport an inmate that refuses to be transported.               [Decker

 Decl. at ¶¶ 2-5.]

             The events as described above by Defendant and the

 Government are not incongruent.        Defendant is correct that his

 hearings were scheduled for the afternoon of November 26, 2018,

 but that fact does not afford him the privilege of choosing when

 or how he is transported to the courthouse by the Marshals

 Service.    Defendant has not provided any facts that contradict

 the account given by Officer Gonzalez.         The FDC officers and the

 Marshals Service followed standard procedures by confirming that

 Defendant did not want to go downstairs at 8:00 a.m. on

 November 26, 2018, and not transporting Defendant because he had

 refused to be transported.       Defendant’s conversations with the

 Public Defender’s Office do not change the fact that he refused

 to go downstairs as instructed by Officer Gonzalez.

             Furthermore, Defendant is well-acquainted with the

 process of being transported by the Marshals Service.              He has

 been in custody at FDC yet present before this Court or a

 magistrate judge at least eleven times in the course of this

 litigation.     See Mem. in Opp. at 7.      Defendant has previously

 demonstrated a willingness to avoid court proceedings, having

 refused to be transported to the courthouse on April 10, 2018.

 [EO, filed 4/10/18 (dkt. no. 194).]         As to this Court’s ruling

 that Defendant’s absence from the 11/26/18 Hearings was

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 purposeful and intentional, Defendant has not shown any clear

 error warranting reconsideration.

             Defendant argues the events that occurred on

 November 26, 2018 are examples of how he has been “harassed,

 obstructed and lied on [sic] to disadvantage [him] in his

 defense.”    [Def.’s Decl. at ¶ 11.]       At most, at approximately

 11:00 a.m. that day, Defendant was misinformed by an

 unidentified person from the Public Defender’s Office that: the

 Marshals Service would pick him up later for an afternoon

 hearing; and the person had informed the Court that Defendant

 had called about the transportation situation.6           By that point,

 he had already refused to be transported in the morning.             Thus,

 the mistaken information he received at 11:00 a.m. did not cause

 Defendant’s absence from the 11/26/18 Hearings.           To the extent

 that Defendant asserts manifest injustice because of that

 mistaken information, his argument is rejected.

             In light of the fact that Defendant has clearly

 demonstrated his ability to comply with the Marshals Service’s

 standard transportation procedures, the Court’s acceptance of

 Defendant’s voluntary absence and waiver of his right to appear

 was not error.     Moreover, Defendant has not identified any

 arguments or evidence he would have presented at the 11/26/18


       6On November 26, 2018, no one from the Public Defender’s
 Office contacted this Court about Defendant’s hearings.
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 Hearings had he been present.        Defendant has failed to establish

 error or manifest injustice that would warrant reconsideration

 of the ruling that Defendant’s absence from the 11/26/18

 Hearings was purposeful and intentional.          Because this is the

 only challenge Defendant raises to the denial of the Contempt

 Motions, the Motion for Reconsideration is denied as to the

 ruling on the Contempt Motions.

 II.   Reconsideration of the Denial of the Motion to Sever

             Defendant’s Supplement alleges that this Court did not

 properly consider the Motion to Sever.         The Supplement does not

 allege any intervening change in controlling law or newly

 available evidence.      Defendant argues the Court’s failure to

 consider the arguments presented in the Motion to Sever either

 constituted clear error or resulted in manifest injustice.

             At the first of the 11/26/18 Hearings, the Motion to

 Sever was denied because Defendant failed to show that a joint

 trial would be prejudicial to him.         The Supplement incorrectly

 asserts that this Court stated Defendant “did not provide any

 reasons for the trial to be severed,” and that the Government

 provided no opposition to the Motion to Sever.           [Def.’s Suppl.

 Statement at ¶¶ 1, 3.]       Defendant also makes a baseless

 accusation that the Court did not read the Motion, stating,

 “[h]ad the judge actually read the Motion To Sever there is no

 possibility a statement could have been made that [Defendant]

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 didn’t provide any reasons for the severance.”           [Id. at ¶ 6.]

 In due course, this Court received and considered Defendant’s

 Motion to Sever, the Government’s memorandum in opposition, and

 Cabebe’s statement of no position.         This Court also considered

 the arguments and representations made at the hearing, which

 Defendant chose not to attend.        Defendant does not indicate any

 other filings, arguments, or evidence that should have been

 considered by the Court.       This Court considered and rejected the

 arguments raised in Defendant’s Motion to Sever, and Defendant

 merely disagrees with this Court’s ruling.          Defendant’s

 disagreement “is an insufficient basis for reconsideration.”

 See Davis, 2014 WL 2468348, at *3 n.4 (citations and quotation

 marks omitted).

             As previously noted, Defendant does not identify any

 evidence or argument he would have presented if he had been

 present at the 11/26/18 Hearings.         Moreover, because Defendant

 has not identified any newly discovered evidence or any change

 in the controlling legal authority, any evidence or argument he

 identifies now could have been presented when the Motion to

 Sever was pending before this Court. “[R]econsideration may not

 be based on evidence and legal arguments that a movant could

 have presented at the time of the challenged decision.”             Wereb

 v. Maui Cty., 830 F. Supp. 2d 1026, 1031 (D. Hawai`i 2011) (some

 citations omitted) (citing Kona Enter., Inc. v. Estate of

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 Bishop, 229 F.3d 877, 890 (9th Cir. 2000)).          The Supplement

 therefore does not allege any ground that warrants

 reconsideration of the denial of the Motion to Sever.             The

 Motion for Reconsideration is denied as to the ruling on the

 Motion to Sever.

                                  CONCLUSION

             On the basis of the foregoing, Defendant’s

 December 10, 2018 motion for reconsideration of this Court’s

 rulings at the November 26, 2018 hearings is HEREBY DENIED.

             IT IS SO ORDERED.

             DATED AT HONOLULU, HAWAI`I, February 28, 2019.




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